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Joseph H. Harrington JUL 03 2018
United States Attorney __ ou
Eastern District of Washington __ SANE Mcavoy, clerk
George J.C. Jacobs II SPOKANE, WASHINGTON CTY

Assistant United States Attorney

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elephone: (509) 353-2767

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

Plaintiff, 18-CR-00034-TOR

VS. Plea Agreement
MICHAEL D. MILLER,

Defendant.

 

Plaintiff, United States of America, by and through Joseph H. Harrington,
United States Attorney for the Eastern District of Washington, and George J.C.
Jacobs, III, Assistant United States Attorney for the Eastern District of Washington,
and Defendant MICHAEL D. MILLER and Defendant’s counsel, John B. McEntire,
IV, agree to the following Plea Agreement:

1. Guilty Plea and Maximum Statutory Penalties:

Defendant, MICHAEL D. MILLER, agrees to plead guilty to Count | of the
Indictment filed on February 21, 2018, charging Defendant with distributing 50 grams
or more of actual (pure) methamphetamine, in violation of 21 U.S.C. § 841(a)(1),
841(b)(1)(A)(vii1). Defendant understands that this offense is a Class A felony
offense, which carries a maximum statutory penalty of: not less than a ten-year nor
more than a life term of imprisonment; a fine not to exceed $10,000,000; not less than
a five-year nor more than a life term of supervised release; and a $100 special penalty

assessment. If Defendant has two or more prior felony drug convictions, and the

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United States files a Notice of Penalty Enhancement pursuant to 21 U.S.C. § 851, the
offense would then carry a maximum statutory penalty of not less than a life term of
imprisonment, non-parolable, non-suspendable; a fine not to exceed $20,000,000 and
a $100 special penalty assessment.

Defendant understands that a violation of a condition of supervised release
carries an additional penalty of re-imprisonment for up to five years, without credit for
time previously served on post-release supervision.

2. Denial of Federal Benefits:

 

Defendant understands that by entering this plea of guilty, Defendant may no
longer eligible for assistance under any state program funded under part A of title IV
of the Social Securities Act (concerning Temporary Assistance for Needy Families) or
benefits under the food stamp program or any state program carried out under the
Food Stamp Act. 21 U.S.C. § 862a. Further, the Court may deny Defendant’s
eligibility to any grant, contract, loan, professional license, or commercial license
provided by an agency of the United States or by appropriated funds of the United
States. See 21 U.S.C. § 862.

3. The Court is Not a Party to the Agreement:

The Court is not a party to this Plea Agreement and may accept or reject it.
Sentencing is a matter solely within the discretion of the Court. Defendant
understands thatthe Court is under no obligation to accept any recommendations
made by the United States and/or by the Defendant; that the Court will obtain an
independent report and sentencing recommendation from the U.S. Probation Office;
and that the Court may, in its discretion, impose any sentence it deems appropriate up
to the statutory maximum penalties stated in the Plea Agreement.

Defendant acknowledges that no promises of any type have been made to the
Defendant with respect to the sentence the Court will impose in this matter.

Defendant understands that the Court is required to consider the applicable sentencing

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guideline range, but may depart or vary upward or downward under the appropriate
circumstances.

Defendant also understands that should the sentencing judge decide not to
accept any of the parties’ recommendations, that decision is not a basis for
withdrawing from this Plea Agreement, or a basis for withdrawing his plea of guilty.

4. Waiver of Constitutional Rights:

 

Defendant understands that by entering his plea of guilty, Defendant is
knowingly and voluntarily waiving certain constitutional rights, including:
(a) The right to a jury trial;
(b) The right to see, hear, and question the witnesses;
(c) The right to remain silent at trial;
(d) The right to testify at trial; and
(e) The right to compel witnesses to testify.

While Defendant is waiving certain constitutional rights, Defendant understands
he retains the right to be assisted through the sentencing and any direct appeal of the
conviction and sentence by an attorney, who will be appointed at no cost if Defendant
cannot afford to hire an attorney. Defendant also acknowledges that any pretrial
motions currently pending before the Court are waived.

5. Elements of the Offense:

The parties agree that, in order to convict Defendant of distributing 50 grams or
more of actual (pure) methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(A)(viii), as charged in Count 1 of the Indictment filed on February 21,
2018, the United States would have to prove beyond a reasonable doubt the following
elements:

First, on or about October 15, 2015, in the Eastern District of

Washington, Defendant knowingly and intentionally distributed actual (pure)

methamphetamine;

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Second, Defendant knew that it was methamphetamine or some other
prohibited drug; and
Third, the actual (pure) methamphetamine weighed 50 grams or more.

6. Factual Basis and Statement of Facts:

 

The parties stipulate and agree that the United States could prove the following
facts beyond a reasonable doubt at trial, and these facts constitute an adequate factual
basis for Defendant’s guilty plea. This statement of facts does not preclude either
party from presenting and arguing, for sentencing purposes, additional facts which are
relevant to the guideline computation or sentencing, unless otherwise prohibited in

this agreement.

On October 15, 2015, the FBI Task Force utilized a cooperating individual
(“CI’’) to conduct a controlled purchase of methamphetamine from Defendant
MILLER. Surveillance units observed Defendant MILLER during the controlled
purchase with the CI at Zips, located at Trent and Fancher, Spokane Valley,
Washington. Defendant MILLER distributed 109.4 grams of pure methamphetamine
(subsequently confirmed by the U.S. Drug Enforcement Administration (DEA)
Western Regional Laboratory’s chemical analysis) to the CI in exchange for
$2,200.00 of task force buy money.

On October 29, 2015, the FBI Task Force conducted another controlled
purchase of methamphetamine from Defendant MILLER in Spokane Valley,
Washington. The CI exchanged task force buy money with MILLER. Defendant
MILLER distributed 128.4 grams of pure methamphetamine (subsequently confirmed
by DEA’s chemical analysis) to the CI in exchange for task force buy money.

The total quantity of pure methamphetamine attributable to Defendant MILLER
throughout the course of the operation was 237 grams. Methamphetamine is a

Schedule II controlled substance.

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7. The United States Agrees:
(a) To Dismiss Counts:

At the time of sentencing, the United States agrees to move to dismiss (with
prejudice) Count 2 of the Indictment, which charges Defendant with Distribution of
50 Grams or More of Actual (pure) Methamphetamine, in violation of 21 U.S.C. §
841(a)(1), (6). )(B)(viii).

(b) Not to File Additional Charges:

The United States Attorney’s Office for the Eastern District of Washington
agrees not to bring any additional charges against Defendant based upon information
in its possession at the time of this Plea Agreement and arising out of Defendant’s
conduct involving illegal activity charged in the Indictment or this investigation,
unless Defendant breaches this Plea Agreement any time before sentencing.

(c) Not to File Information for Penalty Enhancement:

The United States agrees not to file an enhanced penalty information to
establish Defendant’s prior felony drug convictions pursuant to 21 U.S.C. § 851.

8. United States Sentencing Guideline Calculations:

Defendant understands and acknowledges that the United States Sentencing
Guidelines (hereinafter “USSG’) are applicable to this case and that the Court will
determine Defendant’s applicable sentencing guideline range at the time of
sentencing.

(a) Base Offense Level:

The parties agree and stipulate that Defendant’s base offense level is 32. USSG
§ 2D1.1(c)(4).

(b) Specific Offense Characteristics:

The parties believe that no specific offense characteristics or adjustments apply
or will be sought.
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(c) Acceptance of Responsibility:
If Defendant pleads guilty and demonstrates a recognition and an affirmative
acceptance of personal responsibility for the criminal conduct; provides complete and
accurate information during the sentencing process; does not commit any obstructive SA

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conduct; accepts this Plea Agreement; and enters a plea or guilty no later than

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2018, the United States will move for a three (3) level downward adjustment in the SVD o
offense level for the Defendant’s timely acceptance of responsibility, pursuant to
USSG § 3E1.1(a) and (b).

The parties agree that the United States may at it option and upon written notice
to Defendant, not recommend a three (3) level reduction for acceptance of
responsibility if, before sentencing, Defendant is charged or convicted of any criminal
offense whatsoever, or if Defendant tests positive for any controlled substance.

(d) Criminal History:

The United States and Defendant make no agreement on Defendant’s criminal
history category, which shall be determined by the Court after the Presentence
Investigative Report is completed.

9. Incarceration:

The United States agrees to recommend the Court impose a sentence at the low
end of the applicable guideline range or 120 months, whichever is higher. Defendant
is free to ask for any lawful sentence.

10. Criminal Fine:

The parties are free to make whatever recommendation concerning the
imposition of a criminal fine that they believe is appropriate.

11. Supervised Release:

The parties agree to recommend that the Court impose a five-year term of
supervised release to include the following special conditions, in addition to the

standard conditions of supervised release:

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(a) That Defendant participate and complete such drug testing and
treatment programs as the Probation Officer directs; and

(b) That Defendant’s person, residence, office, vehicle, and belongings
are subject to search at the direction of the Probation Officer, upon
reasonable suspicion of contraband or evidence of violation of a
condition of supervision.

12. Mandatory Special Penalty Assessment:

The Defendant agrees to pay the $100 mandatory special penalty assessment to
the Clerk of Court for the Eastern District of Washington. See 18 U.S.C. § 3013.

13. Payments While Incarcerated:

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, then Defendant agrees to earn the money to pay toward these
obligations by participating in Bureau of Prisons’ Inmate Financial Responsibility
Program.

14. Additional Violations of Law Can Void Plea Agreement:

The parties agree that the United States may at its option and upon written
notice to Defendant, withdraw from this Plea Agreement or modify its
recommendation for sentence if, before sentencing, Defendant is charged or convicted
of any criminal offense whatsoever or if Defendant tests positive for any controlled
substance.

15. Appeal Rights:

Defendant understands that he has a limited right to appeal or challenge the
conviction and sentence imposed by the Court. Defendant hereby expressly waives
his right to appeal his conviction, but reserves the right to appeal the sentence if the
Court imposes a sentence over 140 months or if the Court applies a special offense
characteristic or adjustment not agreed to by the parties. Defendant further expressly
waives his right to file any post-conviction motion attacking his conviction and

sentence, including a motion pursuant to 28 U.S.C. § 2255, except one based upon

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ineffective assistance of counsel based on information not now known by Defendant
and which, in the exercise of due diligence, could not be known by Defendant by the
time the Court imposes the sentence.

16. Integration Clause:

The parties acknowledge that this document constitutes the entire Plea
Agreement between the parties, and no other promises, agreements, or conditions exist
between the parties concerning this case’s resolution. This Plea Agreement is binding
only upon the United States Attorney’s Office for the Eastern District of Washington,
and cannot bind other federal, state, or local authorities. The parties agree that this
agreement cannot be modified except in writing that is signed by the United States and

Defendant.

Approval and Signature

 

Agreed and submitted on behalf of the United States Attorney’s Office for the Eastern
District of Washington.

Joseph H. Harringt
United States Attorne

    

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ASSist it United States Attorney

 

 

I have read this Plea Agreement and have carefully reviewed and discussed
every part of the agreements with my attorney. I understand and voluntarily enter into
the Plea Agreement. Furthermore, I have consulted with my attorney about my rights,
I understand those rights, and I am satisfied with the representation of my attorney in

this case. No other promise or inducements have been made to me, other than those

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contained in this Plea Agreement and no one has threatened or forced me in any way

to enter into this Plea Agreement. I am agreeing to plead guilty because J am guilty.

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MICHAEL D. MILLER Date
Defendant

I have read the Plea Agreement and have discussed the contents of the
agreement with my client. The Plea Agreement accurately and completely sets forth
the entirety of the agreement between the parties. I concur in my client’s decision to

plead guilty as set forth in the Plea Agreement. There is no legal reason why the

Court should not accept Defendant’s plea of guilty.

 

 

John B. McEntire, IV - Date
Attorney for Defendant

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